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               IN THE UNITED STATES DISTRICT COURT FOR THI
                          EASTERN DISTRICT OF VIRGINIA
                                                                                         DL
                                  RICHMOND DIVISION
                                                                                         ■ iUN i 7 2G
UNITED STATES OF AMERICA                               Case No. 3:25-cr-
                                                                                   CLERK, U.o. 0IJ3TRICT COURT
                                                                                         RICHM'iND. VA

              V.                                       Aclullerated and Misbranded Device
                                                       21 U.S.C.§§ 331(c), 333(a)(2)
JAWAD BHATTL                                           (Counts One through 'rhrec)

             Defendant.                                Misbranded Drug
                                                       21 U.S.C.§§331(k), 333(a)(2)
                                                       (Count Four)

                                                       Health Care Fraud
                                                       18U.S.C. §§ 1347 and 2
                                                       (Counts Five through Ten)

                                                       False Statements Related to Health Care
                                                       Matters

                                                       18U.S.C. § 1035(a)(2)
                                                       (Counts Eleven through Fourteen)

                                                       Health Care Fraud
                                                       18U.S.C. §§ 1347 and 2
                                                       (Counts Fifteen through Twenty)

                                                       False Statements Related to Health Care
                                                       Matters
                                                       18U.S.C. § 1035(a)(2)
                                                       (Counts Twenty-One through Twenty-Six)

                                                       Forfeiture Allegation

                                       INDICTMENT


                          June 2025 T'erm - At Richmond, Virginia

THE GRAND JURY CHARGES THAT:


                               GENERAL ALLEGATIONS


     At all times relevant to the Indictment:


     1.     The Medicaid program was established by Title 19, Social Security Act of 1965, to




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provide medical assistance to indigent persons. The United States Department of Health and

Human Services and the Commonwealth of Virginia, through the Commonwealth’s Department

of Medical Assistance Services, administer and supervise the administration of the Medicaid

program in Virginia, which is called the Virginia Medical Assistance Program (Medicaid). The

federal and state governments jointly provide llinding for Medicaid.

       2.         The Medicare Program (Medicare) is a federal health insurance program, affecting

commerce, that provides benefits to persons who are 65 years of age and older or disabled.

Medicare is administered by the United States Department of Health and Human Services through

its agency, the Centers for Medicare and Medicaid Services (CMS).

       3.         Medicaid and Medicare are both “health care benefit programs” as defined in 18

U.S.C. § 24(b).

       4.         Individuals who qualify for Medicare or Medicaid benefits are commonly referred

to as “beneficiaries.” Each beneficiary is given a unique identification number.

       5.         As part of the Medicare enrollment process, health care providers who provide

items or services to beneficiaries submit enrollment applications to       Medicare. The Medicare

provider enrollment application, CMS Fomi 855B requires a provider, or an authorized

representative of the provider, to certify that the provider will comply with all Medicare-related

laws, rules, and regulations, including that the provider “will not knowingly present or cause to be

presented a false or fraudulent claim for payment by Medicare” and “will not submit claims with

deliberate ignorance or reckless disregard of their truth or falsity.”

        6.        As part of the Medicaid enrollment process, providers submit enrollment

applications to Medicaid. The Virginia Medical Assistance Program Provider Enrollment

Application requires a provider, or an authorized representative of the provider, to certify that the




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provider will comply with all Medicaid-related laws, rules, and regulations, including that the

provider is responsible for reading and adhering to the policies and regulations explained in this

manual and for ensuring that all employees do likewise. The provider also certifies by his or her

personal signature or the signature of an authorized agent on each invoice that all information

provided to the Commonwealth’s Department of Medical Assistance Services is true, accurate,

and complete. Satisfaction and payment of any claim will be from federal and state funds, and any

provider who submits false claims, statements, or documents may be prosecuted under applicable

federal or state laws.


        7.      If Medicare or Medicaid approve a provider’s application, these government

programs assign the provider a provider number. A provider with a provider number can submit

claims to obtain reimbursement for actually rendered and medically necessary items and services.

Providers are given access to manuals and service bulletins describing Medicare and Medicaid

procedures, rules, and regulations.

                When seeking reimbursement from Medicare or Medicaid for qualifying services

rendered by the provider to a Medicare or Medicaid recipient, providers submit the cost of the

service provided, together with the appropriate procedure code, as set forth in the Current

Procedural Terminology (CPT) Manual or the Healthcare Common Procedure Coding System.

        9.      Medicare includes coverage under component parts. Medicare Part B covers,

among other things, medical items and services that are reasonable and medically necessary.

                          The Defendant and Healing Hands of Virginia


        10.     The defendant, JAW AD BHATTI, for the entire relevant period has solely owned

and operated Healing Hands of Virginia, a pain management clinic based in Richmond, Virginia,

which is in the Eastern District of Virginia.




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                       SCHEME AND ARTIFICE RELATED TO OZONE GAS


           11.    Federal regulations define ozone as “a toxic gas that with no known useful medical

application in specific, adjunctive, or preventive therapy.” 21 C.F.R. § 801.415. Ozone is not

approved by the Food and Drug Administration to diagnose, cure, mitigate, prevent, or treat

disease or to affect the structure or any function of the body and it is therefore illegal to use it in

that manner. Additionally, devices that produce ozone gas are also subject to regulation by the

Food and Drug Administration.

   A. Federal Regulation of Devices and Drugs

           12.    The United States Food and Drug Administration (FDA) is the federal agency

charged with responsibility for protecting the health and safety of the American public by

enforcing the Federal Food, Drug, and Cosmetic Act (FDCA).

           13.    The FDCA’s purposes include ensuring that medical products, including devices

and drugs, sold for consumption by or for administration to humans, or for other use by or on

humans, are safe, effective, and bear labeling containing accurate and certain required information,

as well as adequate directions for their safe use. FDA’s responsibilities under the FDCA include

regulating the manufacture, labeling, and distribution of all drugs and medical devices shipped or

received in interstate commerce. Federal regulations define interstate commerce as commerce

between any state or territory and any place outside thereof. 21 U.S.C. § 321(b).

      1.     Devices


           14.    The FDCA defines a “device” as (in relevant part) “an instrument, apparatus,

implement, machine, contrivance, implant, in vitro reagent, or other similar or related article,

including any component, part, or accessory, which is . . . intended for use in the diagnosis of

disease or other conditions, or in the cure, mitigation, treatment, or prevention of disease, in man




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or other animals, or ... intended to affect the structure or any function of the body of man or other

animals, and which does not achieve its primary intended purposes through chemical action within

or on the body of man or other animals and which is not dependent upon being metabolized for

the achievement of its primary intended purposes.” 21 U.S.C. § 321(h).

        15.    The “intended use” of an article is defined as the objective intent of the persons


legally responsible for the labeling of that article. This objective intent might, for example, be

shown by the labeling claims, advertising matter, or oral or written statements made by such

persons or their representatives. 21 C.F.R. § 801.4.

        16.    Under the FDCA, the term “label” means a display of written, printed, or graphic

matter upon the immediate container of any article. 21 U.S.C. § 321(k). The term “labeling” is

broader, and includes all labels, as well as other printed or graphic matter placed upon or

accompanying any article or any of its containers or wrappers. 21 U.S.C. § 321(m).

       17.     Devices introduced into commercial distribution in the United States after May 28,


1976 cannot legally be marketed in the United States until the manufacturer submits a pre-market

approval application to FDA, and FDA approves that application. FDA will not grant pre-market

approval unless the information in the pre-market approval application provides FDA with

reasonable assurance that the device is safe and effective when used according to its labeling.

        18.    Manufacturers of medical        devices,    including   foreign establishments that

manufacture, prepare, propagate, or process a medical device that is imported or offered for import

into the United States, must register with FDA. 21 U.S.C. § 360(i).

        19.    Under the FDCA, a device is misbranded if, among other things:

               a.      It is manufactured in a facility that is not registered with FDA; 21 U.S.C.

        § 352(0); or




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                 b.     The notice or other information respecting the device was not provided as

         required under section 510(k) of the FDCA. 21 U.S.C §§ 360(k); 352(o).

         20.     A device is “adulterated” if, among other things, the device is a medical device

pursuant to 21 U.S.C. § 360c(f) that was required under 21 U.S.C. § 360e(a) to have an approved

pre-market application for approval, and does not have such an approval in effect. 21 U.S.C.

§ 351(f).

    2.   Drugs

         21.     The FDCA defines a “drug” to include (1) articles intended to diagnose, cure,

mitigate, prevent, or treat disease in man or other animals; or (2) articles intended to affect the

structure or any function of the body of man or other animals; or (3) articles used as components

of the above. 21 U.S.C. § 321(g)(1)(B), (C), (D).

         22.     Under the FDCA, the “intended use” of an article means the objective intent of the

persons legally responsible for the labeling of that article. This objective intent might, for example,

be shown by labeling claims, advertising matter, or oral or written statements by such persons or

their representatives. 21 C.F.R § 201.128.

         23.     Some drugs arc “new drugs,” which are defined as any drug whose composition is

not generally recognized, among experts qualified by scientific training and experience to evaluate

the safety and effectiveness of drugs, as being safe and effective for use under the conditions

prescribed, recommended, and suggested in the drug’s labeling. 21 U.S.C. § 321(p). New drugs

require FDA approval before they may be marketed. 21 U.S.C. § 355(a); 21 U.S.C. § 331(d). If

there is no new drug application, an investigational new drug application must be in effect before

the drug may be distributed for research purposes. 21 U.S.C. § 355(i); 21 C.F.R. pt. 312.

         24.     To obtain FDA approval of a new drug application, the drug’s sponsor must




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demonstrate, to FDA’s satisfaction, that the drug is both safe and effective for each of its claimed

uses.    21 U.S.C. § 355(b). To that end, a sponsor of a new drug must submit: (1) full reports of

investigations to establish that the drug is safe and effective; (2) a full list of the drug’s

components; (3) a full statement of the drug’s composition; (4) a full description of the methods.

facilities, and controls used to manufacture, process, and pack the drug; (5) samples of the drug

and its components; and (6) samples of the proposed labeling for the drug.

          25.    Some drugs are also “prescription drugs,” which are defined as those drugs that,

because of their toxicity and other potential harmful effects, or the methods of their use, or the

collateral measures necessary to their use, are not safe for use except under the supervision of a

practitioner licensed by law to administer such drugs. 21 U.S.C. § 353(b)(1)(A). Prescription drugs

have additional regulatory requirements, including that at all times prior to dispensing their label

bear at a minimum the symbol “Rx only.” 21 U.S.C. § 353(b)(4)(A).

          26.    Under the FDCA, all drugs also must bear labeling that contains adequate directions

for use. 21 U.S.C. § 352(f). “Adequate directions for use” are directions sufficient for a layperson

to safely use the drug for the purposes for which it is intended. 21 C.F.R. § 201.5. Directions under

which a layperson can safely use a prescription drug cannot be written because such drugs can, by

definition, only be used safely at the direction, and under the supervision of, a licensed practitioner

so they must qualify for an exemption to this requirement. The exemption, set out in 21 C.F.R.

§ 201.100 requires that all its conditions be met, including that its labeling bear the symbol “Rx

only” and, if it is a new drug, that it bear FDA-approved labeling. 21 C.F.R. § 201.100(b)(1),

201.100(c)(2).

    B.    Prohibited Acts


          27.    Under 21 U.S.C. § 331(c), the receipt in interstate commerce of any adulterated or




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misbranded device or drug, and the delivery or proffered delivery thereof for pay or other otherwise

after that receipt, is prohibited. 21 U.S.C. § 331(c).

        28.    Under 21 U.S.C.       331(k), it is prohibited to do any act with respect to a drug or

device that causes it to become misbranded after it moves in interstate commerce and while it is


held for sale. 21 U.S.C. § 331(k).

    C. Medical Devices at Issue

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       29.      The Zotzmann + Stahl' OZON 2000 ozone machine was manufactured by

Zotzmann & Stahl GmbH + Co. KG Medizin- Ozontechnik in Germany. The OZON 2000 was


marketed as a “field tested hyperbaric ozone therapy device for all kinds of ozone therapy.

       30.     The OZON 2000 and any Zotzmann product is not cleared or approved in the

United States for any indication, including ozone therapy.

       31.     The Herrman Hyper Medozon is an ozone machine manufactured by Herrmann

Apparatebau GmbH (HAB), a German company. The Hyper Medozon machine is marketed as a

Tellable system for normobaric ozone-oxygen-therapy” that “covers [the] full spectrum of ozone-

oxygen-therapy.

       32.     The Herrman Hyper Medozon and any HAB product is not cleared or approved in

the United States for any indication, including the advertised “ozone-oxygen therapy.

       33.     The HOCATT ozone machine, an acronym for Hyperthermic Ozone Carbonic Acid

Transdermal Technology, is made by Signature Health Limited, which is based in Hong Kong,

and is an ozone bath or spa, wherein the user enters the machine’s opened chamber and then the

doors are closed on the user’s body with the user’s head remaining outside the chamber. The




1 At the time BHATTI purchased the machine, the company was known as Zotzmann + Stahl
but is now known as Zotzmann & Hese KG (hereafter Zotzmann).
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machine’s now-closed chamber, with the user’s body sealed inside, fills with ozone gas. I'he

HOCATT manufacturer claims that the HOCATT detoxifies the entire body, improves circulation,


reduces stress, and reduces stretch marks, cellulite, scars, and wrinkles.

       34.     The HOCATT ozone machine is not cleared or approved in the United States for

any indication, including the usage advertised by its manufacturer. In fact, its manufacturer

expressly disclaims any medical or curative claims or any FDA approval: “The HOCATT . . .

device [is] not designed to diagnose, treat, mitigate, cure, or prevent any disease or medical

condition.” The manufacturer continues to warn that testimonials        do not “reflect or represent

Signature Health Limited’s product claims,” and that “[tjhese statements have not been evaluated

by the Food and Drug Administration (FDA). Signature Health Limited’s products have not been

assessed or approved by FDA or NDF, and we do not make any claims regarding their use to

diagnose, treat, cure, or prevent any disease or medical condition.” Id.

       35.     Because FDA has determined that “ozone is a toxic gas with no known useful

medical application in specific, adjunctive, or preventive therapy,” FDA has not approved or

cleared any ozone devices to treat any medical conditions. 21 C.F.R. § 801.415.

       36.     The OZON 2000. the Hvper Medozon> and the HOCATT are unapproved medical

devices that are misbranded because none of the manufacturers of the aforementioned devices


provided notice or other information respecting the devices as required under section 510(k) of the

FDCA, and none of the devices were manufactured in facilities that were registered with FDA in

accordance with section 510. The devices are adulterated because they have no         approved pre¬

market application from FDA.

       37.     Accordingly, the importation of the devices into the United States violates 21 U.S.C.

§ 331 (a), and a practitioner cannot receive the devices in interstate commerce, or use or proffer to




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use the unapproved devices on patients under the FDCA. 21 U.S.C. § 331(c).

      D. BHATTI’s Use of the Ozone Devices


           38.   In or about August 2019 and as late as December 2019, BHATTI purchased and

received in interstate commerce an OZON 2000 machine from the Gemian manufacturer


Zotzmann. The OZON 2000 device manufactured ozone gas from medical grade oxygen.

Zotzmann is not registered with FDA and therefore could not legally distribute medical devices in

the United States. Zotzmann represents that ozone “significantly improves the blood circulation

and improves blood lipid parameters” and is used to treat vascular disorders, vertigo, asthma, and

other immuno-diseases. Because Zotzmann represents that the OZON 2000 machine can treat

these disparate illnesses, the company is engaged in manufacturing, advertising, and distributing

these machines as medical devices. 21 U.S.C. § 321(h). Zotzmann also did not notify FDA that

the OZON 2000 was being introduced into interstate commerce and the OZON 2000 was not the

subject of an FDA-approved premarket application. BHATTI maintained this OZON 2000

machine in his practice.

           39.   On or about July 19,2019, BHATTI purchased and received in interstate commerce

a Hyper Medozon machine from the German manufacturer Herrmann Apparatebau GmbH (HAB).


HAB refers in its promotional materials to the Hyper Medozon machine as “medically certified'

and represents that medical ozone has “strong bactericidal, virucidal, fungicidal and antiparasitic

effect[s].” HAB also advertises the use of the Hyper Medozon machine to extract patients’ blood

from their body, infuse it with ozone gas, and return the blood to the body. Because HAB

represents that the Hyper Medozon machine has medical applications and advertises its medical

use   on   patients, the company is engaged in manufacturing, advertising, and distributing these

machines as medical devices. HAB was not registered with FDA as a device manufacturer, nor did

it notify FDA the Hyper Medozon device was being introduced into interstate commerce. The


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Hyper Medozon device was not the subject of an FDA-approved premarket application. BHATTI

maintained this Hyper Medozon machine in his practice.

       40.    In or about October 2019, BHATTI purchased and received in interstate commerce

a HOCATT ozone machine from Signature Health Limited, which is headquartered in Hong Kong.

The HOCATT manufacturer claims that the HOCATT detoxifies             the entire body, improves

circulation, reduces stress, and reduces stretch marks, cellulite, scars, and wrinkles. Because

Signature Health Limited represents that the HOCATT machine has medical applications and

advertises its medical use on patients, the company is engaged in manufacturing, advertising, and

distributing these machines as medical devices. Signature Health Limited was not registered with

FDA as a device manufacturer, not did it notify FDA that the HOCATT device was being

introduced into interstate commerce. The HOCATT device also was not the subject of an FDA-


approved premarket application. BHATTI maintained this HOCATT machine in his practice.

       41.    Beginning as early as July 2019 and continuing until as late as sometime in 2023,

BHATTI used the OZON 2000. the FIvper Medozon. and the HOCAIT machines at his medical


practice to create ozone gas from medical grade oxygen and administered that ozone to patients,

employees, and friends and family. BHATTI administered ozone to these individuals both as a

discrete substance and mixed with other substances, such as lidocainc—a local anesthetic that is

FDA-approved.

       42.    BHATTI displayed pictures of his ozone machines on his practice’s public-facing

website, and there also promoted ozone therapy. Of the four substantive tabs on BHATTTs

website, two were related to ozone: one described “ozone injection;” the other, “HOCATT.” the

ozone immersion device. On the “ozone injection” tab, BHATTI displayed a picture of the green-

colored Hyper Medozon ozone machine, and listed the benefits of ozone injections. BHATTI




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                               ● Reduces pain and helps repair rheumatism ard arthnUs
                                                  ● Fights cancer
                                                   ● Treats &ARS

                                                 ● AIDS Treatment




represented to the public, on his practice’s website, that the benefits of an ozone and lidocaine

injection included: “helps with infected wounds, repairs circulatory disorders, helps alieve [sic]

geriatric disorders, improves macular degeneration, helps fight viral diseases, reduces pain and

helps repair rheumatism and arthritis, fights cancer, treats SARS, and AIDS treatment.
                                                                                                       ?5




       43.     Another image displayed on the ozone injection tab of BHATTl’s website

represented that “most importantly ozone is your best friend if you have lower back pain. When

injected into a herniated disc ozone will shrink swollen disc and allows pinched nerves to relax

again. Making sciatica a thing of the past. Let the front desk know if you need an ozone injection




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on your next visit.”

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               The “HOCATT” tab of BHATTTs practice’s website displayed a picture of the

HOCATT ozone machine, and represented that the health benefits of using the HOCATT ozone

machine include: “improve energy, improve mental acuity, improve sexual stamina, promote deep

relaxation, manage stress, weight management, develop endurance, better concentration, improve

strength.




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       45.    The HOCATT lab of BHATTTs website also displayed the claim that the

HOCATT machine was the “cutting edge of medicine,” with medical benefits ranging from

strengthening the immune system to preventing cancer:

       HOCATT is an ozone incubator, it’s a 150k dollar machine that no one practice has
       within 2 hours of Healing Hands of Virginia. This investment was for the
       patients, truly helping patients become pain-free is my life’s purpose that’s
       why I didn’t hesitate to make the investment, (emphasis added).. . .

       There is another really important function for oxygen which is the ability to get rid
       of free radicals. Free radicals arc unpaired electrons, they are at the heart of many
       diseases, causing aging in our bodies and is linked to cancer. There was no solution
       to free radicals until now. Ozone is three oxygen molecules and oxygen loves
       unpaired electrons (free radicals) it takes those electrons and forms water H20 in
       the body. It is absolutely the best solution to free radical. The benefits of ozone in
       the body are countless, some examples include strengthening the immune system,
       stimulating white blood cells, preventing infections and immune system
       deficiencies by destroying fungi, bacteria, and viruses. It also helps counteract cell
       mutations, therefore preventing cancer.



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       46.          BHATTI made these statements about the medical nature and purposes of the ozone


machines that he had purchased and maintained at his practice, and emphasized the purported

health benefits his patients would receive from such ozone treatments, to advertise to patients and

potential patients BHATTI’s intent and willingness to employ these ozone machines to deliver



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ozone treatments unapproved by FDA and barred by the FDCA.

       47.     The statements about the health benefits and treatment purposes of the HOCATT

ozone machine on BHATTTs website stand in stark contrast to the warning BHATTI received


from the FIOCATT manufacturer when BHATTI purchased the HOCATT machine: “BY

PURCHASING THE HOCATT OR HUGO, I UNDERSTAND THIS IS NOT A MEDICAL

DEVICE, AND I WILL NOT REPRESENT IT AS A MEDICAL DEVICE, NOR STATE TFIAT

BY USING THE HOCATT OR HUGO TREATS OR CURES ANY DISEASE, AND THE

HOCAl’T IS NOT A THERAPY. I AGREE NOT TO STATE THIS ONLINE OR ON MY


WEBSITE.       Despite receiving and accepting this explicit warning of the FIOCATT machine’s

nature, BHATTI utilized his practice’s public-facing website to relay to patients and the public the

precise medical claims the device’s manufacturer expressly disclaimed.

       48.     Consistent with his website’s advertised ozone treatment services, BHATTI did in


fact both administer injections containing ozone and sold or offered access to the HOCATT

machine to his patients and other individuals.

       49.     As advertised in their manufacturers’ promotional materials, the OZON 2000 and

the Hyper Medozon ozone machines are typically used to extract a patient’s blood, infuse the

extracted blood with ozone gas, and pump the blood back into the patient’s body. BHATTI, in

contrast, favored directly injecting ozone, using large syringes, directly into his patient’s body. In

2019, BHAdTI attended a training about ozone therapy in Michigan, and explained to other

attendees that his (BHATTTs) practice included directly injecting ozone into his patients. When

used in this way, the ozone is a new drug and would require FDA-approval. It was also a

prescription drug that requires, among other things, that its label bear the symbol “Rx Only.

        50.    When BHATTI injected ozone into his patients, many of those patients reported




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experiencing extreme pain at the injection sites (to include the patients’ necks, backs, shoulders,

scalps, and toes) and throughout their bodies, such that their injuries constituted substantial bodily

injury. Some of BHATTI’s patients stated that the pain from the ozone injections was the worst

pain they had ever experienced. Several of BHATTI’s patients sought medical attention at

emergency rooms after receiving these FDA-unapproved ozone injections. The patients’ health

complaints included seizures, vomiting, migraines, nausea, temporary loss of ability to walk,

fainting, swelling, chest tightness, numbness, weakness, and temporary loss of vision.

       51.     One of BHATTI’s longtime employees reported to law enforcement that a

significant number of BHATTI’s patients received an ozone shot at least once after BHATTI

started incorporating ozone injections into his pain management practice.

       52.     Ozone injections were not the only injections perfonned at BHATTI’s practice. It

was BHATTI’s common practice to employ a nurse practitioner to see additional patients. The

nurse practitioners BHATTI hired did not perform ozone injections, but instead performed

injections containing lidocaine, a short-term anesthetic, and other FDA-approved medicines and

anesthetics. Patients could easily differentiate between the shots with smaller syringes and smaller

doses they received from the nurse practitioners at BHATTI’s practice and the more painful shots

with larger syringes and larger doses they received from BHATTI personally. Some of BHATTI’s

patients shifted their care from BHATTI to the nurse practitioners to avoid the painful shots

BHATTI administered.


       53.     At least two of BHATTI’s employees received ozone injections from BHATTI

themselves, and both reported that the ozone injections were both ineffective and extremely

painful. One of these two employees was often tasked with holding patients’ hands while BHATTI

completed ozone injections to comfort and reassure the patient during the painful procedure. A




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third employee witnessed BHAITI administer ozone injections to at least two patients in late

September or early October of 2020.

       54.     BHATTI’s patients and employees reported that BHATfl often injected patients

with ozone without those patients’ informed knowledge and consent, meaning that BHATTI did

not tell these individuals what he was injecting into their bodies. BHATTI variously told some

patients generally that the ozone injections (without naming or identifying the substance) was a

new therapy and/or that it would alleviate their pain. In one instance, BHATTI told a patient that

he wanted to try a new treatment that would help the circulation of her red blood cells and assist

her immune system. In some cases, BHATTI told patients that if they refused to receive BHATTTs

planned and proffered ozone injections, BHATTI would withhold their necessary pain medications

or terminate them as patients from his practice.

       55.     BHATTI was aware that the use of ozone for medical purposes was not approved

by FDA. This lack of FDA approval for the medical use of ozone was discussed at the ozone

training in Michigan in 2019, and BHATTI acknowledged to at least one employee in 2020 that

BHATTI knew ozone lacked FDA approval, but that BHATTI had found ozone therapy

“effective” in his practice and this was why he continued to employ an FDA-unapproved practice.

       56.     BHATTI did not mention ozone in the medical records he created that documented


patients’ office visits and the interventions they received, to include the treatments in the HOCATT

machine, despite abundant evidence of BHATTI administering ozone treatments as a regular part

of his medical practice. These material omissions and misrepresentations further demonstrate that

BHATTI intentionally falsified medical records to cover up his extensive use of ozone therapies.

BHATTTs willful misrepresentations in his medical records and his billings reduced or eliminated

the ability of government health care programs and FDA to police BHA'I'l'Ts unlawful use of




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unapproved and dangerous ozone therapies.

        57.    BHATTI slopped administering ozone injections to patients after law enforcement

executed a search warrant at BHATTI’s practice on or about October 8, 2020, but even after the

execution of the search warrant, employees reported that BHATTI still used all three ozone devices

periodically on himself and for friends and family until at least sometime in 2023.

        58.    Following his purchase of the HOCATT device in or about October 2019, BHATTI

directed his staff to have patients book ozone treatments in the HOCATT machine. BHATTI

directed his staff that they were not to bill the HOCATT treatments to insurance companies, but

should instead only accept cash from the recipients. At least five of BHATTTs employees

observed individuals enter BHATTTs practice to use the HOCATT device, and some of those

employees assisted with setting up the HOCATT treatments. BHATTTs employees heard him

extol the purported health benefits of the HOCATT machine to his pain management patients,

telling those patients that the ozone machine would help with their chronic pain.

                                                 COUNTS 1 -3
                                   (Misbranded and Adulterated Device)

       59.     The allegations in paragraphs 1 through 58 of this Indictment are re-alleged and

incorporated as though set forth in full here.

       60.     On or about July 2019 to in or about 2023, in the Eastern District of Virginia, the

defendant, JAWAD BHATTI, with intent to defraud and mislead, received in interstate commerce

devices that were adulterated within the meaning of 21 U.S.C. § 351(f)(1), in that they lacked an

FDA-approved premarket application, and were misbranded, within the meaning of21 U.S.C.

§§ 352(o), 360(i), 360(k), and21 C.F.R. § 807.81, because they lacked the required premarket

notification and were manufactured in an unregistered facility, and BHATTI offered and provided

medical treatments on such devices for pay or otherwise. The devices in question are described



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below, each being a separate count:

   Count                                         Description of Device


      1         OZON 2000 ozone machine from the German manufacturer Zotzmann



      2         Hyper Medozon ozone machine from the German manufaeturer Herrmann
                Apparatebau GmbH

      3         HOCATT ozone machine from the Hong Kong manufacturer Signature Health
                Limited



          (All in violation of Title 21, United States Code, Sections 331(c) and 333(a)(2))

                                                   COUNT 4
                                             (Misbranded Drug)
          61.    The allegations in paragraphs 1 through 58 of this Indictment are re-alleged and

incorporated as though set forth in full here.

          62.    In or about July 2019 to in or about 2023, in the Eastern District of Virginia, the

defendant, JAWAD BHATl’I, with the intent to defraud and mislead, did and caused various acts,

with respect to a drug, while such drug was held for sale after components of the drug were shipped

in interstate commerce, and where the acts resulted in the drug being misbranded, as defined at 21

U.S.C. § 353(b)(4)(A), specifically, JAWAD BHATTI, the defendant, offered for sale the

following drug, which did not have a label that bears, at a minimum, the symbol “Rx only.

   Count                                         Description of Drug


      4         Ozone plus lidocaine injection


          (All in violation of Title 21, United States Code, Sections 331(k) and 333(a)(2)).




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                                          COUNTS 5 -10
                                        (Health Care Fraud)

        63.    The allegations in paragraphs 1 through 58 of this Indictment are re-alleged and

incorporated as though set forth in full here.

       64.     From in or about January 2014, through in or about October 2024, in the Eastern

District of Virginia and within the jurisdiction of this court, the defendant, JAWAD BHATTI, did

knowingly and willfully execute and attempt to execute a scheme and artifice to commit health

care fraud, that is, to devise a scheme or artifice to defraud a health care benefit program and to

obtain, by means of false and fraudulent pretenses, representations, and promises, any of the

money owned by, and under the custody and control of, Medicaid and Medicare, health care benefit

programs as defined by Title 18, United States Code, Section 24(b), in connection with the delivery

of and payment for health care benefits, items, and services, in violation of Title 18, United States

Code, Section 1347.

       65.     The purpose of BHATTTs scheme and artifice to defraud was to obtain health care

benefits payments from Medicaid and Medicare to which BHATTI was not entitled by submitting

and causing to be submitted false and fraudulent billing claims to Medicaid and Medicare related

to BHATTTs administration of ozone gas and BHATTTs deliberate mis-billing of those FDA-

unapproved treatments as instead FDA-approved nerve block treatments.

                                     The Scheme and Artifice


       66.     As described above, BHATTI concealed his use of ozone for medical treatment

purposes by omitting any reference to ozone in the medical records BHATTI created that

documented his patients’ office visits and the interventions BFIATTI administered. BHATTI

intentionally falsified his patients’ medical records to cover up and conceal his extensive use of

ozone therapies, which BHATTI knew and understood were not approved by FDA and which-



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because such ozone treatments did not comply with community standards of medical practice-

were   not approved for reimbursement from Medicaid or Medicare. BHATTI’s willful

misrepresentations in his medical records and his billings reduced or eliminated the ability of

government health care programs and FDA to detect BHATTI’s unlawful use of unapproved and

dangerous ozone therapies.

       67.     Because ozone therapy and ozone injections are not approved by FDA, there is no

established CPT code through which a provider could charge these unapproved therapies to

insurance companies, to include government health care programs. BHATTI accordingly used a

variety of false billing codes to bill ozone injections and mislead government health care programs

about the true (and non-reimbursable) treatments he was administering to his patients.

       68.     BHATTI generally instructed his employees and his third-party billing company to

bill instances of BHATTFs ozone injections as nerve blocks. BHATTI knew and understood that

these representations were false for multiple reasons: first, because ozone injections are not nerve

blocks, and second, because Bhatti’s practice did not properly perfonn (the separate treatment) of

nerve blocks at all. To be reimbursable by Medicaid or Medicare, nerve blocks injections are

required to be accompanied by a separate long-lasting steroid. BHATTI did not perform such

appropriate nerve block treatments in the course of his practice, a fact confirmed by both

BHATTFs employees and BHATTFs medication purchase orders, which reflect that BHATTFs

practice did not order or stock anything approaching the quantity of steroids required to bill the

massive quantity of nerve blocks for which BHATTI billed.

       69.     BHATTI also falsely indicated in his practice’s medical records that his practice

did in fact utilize such a long-lasting steroid. For example, in October 2017, an employee from

BHATTFs external billing company emailed one of BHATTFs employees, asking if BHATTI




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intended to add a billing code modifier to indicate that BHATTl had used a long-lasting steroid

called Kenalog, because BHATTl stated in his medical records that he had used this steroid for an

injection. BHATTTs employee informed the billing company that BHATTl then used only

lidocaine in his injections, and thus did not use Kenalog as his medical records falsely claimed.

         70.       The scope of BHATTTs fraudulent nerve block billing included BHATTTs

practice of misrepresenting his administration of ozone treatments as “nerve block” treatments,

but also included BHATTTs practice of utilizing the “nerve block” CPT billing code for other

(non-nerve block) treatments and injections.

        71.        On or about the dates noted below, in the Eastern District of Virginia, for the

purpose of executing the above-described scheme and artifice to defraud, JAWAD BHATTl, aided

and abetted by others, knowingly submitted, and caused to be submitted, the following false claims

to Medicaid or Medicare, each of which falsely and fraudulently represented that services had

actually been rendered consistent with Medicaid or Medicare requirements, when in truth and fact,

as BHATTl well knew, the services had not been rendered in compliance with Medicaid or

Medicare requirements, each such false claim constituting a separate count of the Indictment:

                                     Code
 Count         Date (On or About)                            Description of Execution
                                     Billed


    5            March 4, 2020       64450    BHATTl billed Medicare for conducting a nerve block
                                              on Patient 1, representing that he had injected Patient 1
                                              with the steroids Kenalog and Marcaine, when in truth
                                              and fact this treatment was not a nerve block because
                                              BHATTTs practice lacked the steroids required to
                                              conduct a reimbursable nerve block.


    6          September 17, 2020    64450    BHATTl billed Medicare for conducting a nerve block
                                              on Patient 1, but this injection was not a nerve block
                                              because BHATTTs practice lacked the steroids required
                                              to conduct a reimbursable nerve block.




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    7          January 20, 2020     64445    BHATTI billed Medicare for conducting a nerve block
                                             on Patient 2, representing that he had injected Patient 2
                                             with steroids Kenalog and Marcaine, but this injection
                                             was not a nerve block because BHATTl’s practice
                                             lacked the steroids required to conduct a reimbursable
                                             nerve block.


              September 21, 2020    64450    BHATTI billed Medicare for conducting a nerve block
                                             on Patient 2, but this injection was not a nerve block
                                             because BHATTTs practice lacked the steroids required
                                             to conduct a reimbursable nerve block.


    9          January 15, 2020     64445    BHATTI billed Medicaid for conducting a nerve block
                                             on Patient 3, representing that he had injected Patient 3
                                             with the steroids Kenalog and Marcaine, but this
                                             injection was not a nerve block because BHATTTs
                                             practice lacked the steroids required to conduct a
                                             reimbursable nerve block.


   10           April 29, 2020      64445    BHATTI billed Medicaid for conducting a nerve block
                                             on Patient 3, representing that he had injected Patient 3
                                             with the steroids Kenalog and Marcaine, but this
                                             injection was not a nerve block because BHATTTs
                                             practice lacked the steroids required to conduct a
                                             reimbursable nerve block.


        72.      In total, BHATTI through his pain management practice, submitted $1,941,204.32

in fraudulent nerve block billing to Medicare and Medicaid, and these government healthcare

programs paid BHATTI a total of $465,352.54 to which he was not legitimately entitled.

        (In violation of Title 18, United States Code, Sections 1347 and 2).

                                            COUNTS 11-14
                           (False Statements Related to Health Care Matters)

        73.      The allegations in paragraphs 1 through 72 of this Indictment are re-alleged and

incorporated as though set forth in full here.

        74.      On or about the dates noted below, in the Eastern District of Virginia, the defendant,

JAWAD BHATTI, knowingly and willfully made materially false, fictitious, and fraudulent

statements and representations, as set forth below, in connection with the delivery of and payment



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for health care benefits, items, and services involving Medicaid and Medicai'e, health care benefit

programs as defined in 18 U.S.C. § 24(b), each such instance constituting a separate count of the

Indictment.


 Count          Date (On or About)                       Description of Execution


                                      BHATTI falsely stated in his medical records that he injected
                                      Patient 1 with the steroids Kenalog and Marcaine, but this
     11           March 4, 2020
                                      injection did not consist of those steroids because BHATTFs
                                      practice lacked the steroids Kenalog and Marcaine.

                                      BHATTI falsely stated in his medical records that he injected
     12
                                      Patient 2 with the steroids Kenalog and Marcaine, but this
                 January 20, 2020
                                      injection did not consist of those steroids because BHATTFs
                                      practice lacked the steroids Kenalog and Marcaine.

                                      BHATTI falsely stated in his medical records that he injected
     13
                                      Patient 3 with the steroids Kenalog and Marcaine, but this
                 January 15, 2020
                                      injection did not consist of those steroids because BHATTFs
                                      practice lacked the steroids Kenalog and Marcaine.

                                      BHATTI falsely stated in his medical records that he injected
     14
                                      Patient 3 with the steroids Kenalog and Marcaine, but this
                  April 29, 2020
                                      injection did not consist of those steroids because BHATTFs
                                      practice lacked the steroids Kenalog and Marcaine.

          (In violation of Title 18, United States Code, Section 1035(a)(2)).

                             SCHEME AND ARTIFICE RELATED TO
                           RADIOLOGICAL INSERTION OF NEEDLES

          75.      Medicare and Medicaid allow clinicians, subject to certain requirements, to bill for

using radiological means to guide the insertion of a needle, such as for an injection. Radiological

guidance is helpful, for example, when a clinician is performing an injection in or near the spine

or   another sensitive location where proper needle placement is important. Use of radiological

guidance to insert the needle also helps ensure that the medication reaches the proper location,

such as the source of inflammation.




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        76.    A common type of radiology used for needle insertions is ultrasound. Ultrasound

technology uses sound waves at high frequencies to visualize internal organs. The sound waves

used in ultrasound technology penetrate and are reflected back to the ultrasound equipment by

various internal organs at different speeds, which allows the creation of a visual representation of

the body’s interior displayed on a nearby monitor. A special gel is applied to the patient’s skin and

to the ultrasound device to better transmit the sound waves through the patient’s body.


       77.     The CPT code for radiologically guided insertion of a needle is 76942. This code

requires that radiology is actually used to guide the insertion of the needle. As the name of the

billing code indicates, the procedure requires the use of radiology to guide the insertion of the

needle, and Medicaid and Medicare will not reimburse a provider if, for example, the radiological

guidance is used after the needle is inserted into the recipient’s body, or if the needle has already

been removed from the recipient’s body. Thus, code 76942 cannot properly be billed after the

provider’s insertion of the needle into the recipient, even if the provider desires to ensure the

injection has in fact occurred at the right location or to check for post-injection consequences.

                                         COUNTS 15 - 20
                                        (Health Care Fraud)

       78.     The allegations in paragraphs 1 through 10 and 75 through 77 of this Indictment

are re-alleged and incorporated as though set forth in full here.

       79.     From at least in or about January 2014, through at least in or about January 2024,

in the Eastern District of Virginia and within the jurisdiction of this court, the defendant, JAWAD

BHATTI, did knowingly and willfully execute and attempt to execute a scheme and artifice to

commit health care fraud, that is, to devise a scheme or artifice to defraud a health care benefit

program and to obtain, by means of false and fraudulent pretenses, representations, and promises,

any of the money owned by, and under the custody and control of Medicaid and Medicare, health



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care benefit programs as defined by Title 18, United States Code, Section 24(b), in connection

with the delivery of and payment for health care benefits, items, and services, in violation of Title

18, United States Code, Section 1347.

        80.       The purpose of BHATTI’s scheme and artifice to defraud was to obtain health care

benefits payments from Medicaid and Medicare to which BHATTI was not entitled by submitting

and causing to be submitted false and fraudulent billing claims to Medicaid and Medicare related

to radiological insertion of needles.

                                               The Scheme and Artifice


        81.      BHATTI was the most prolific biller of code 76942 in Virginia from 2017 to 2023.

As demonstrated below, nearly all of BHATTTs peers—that is, other Virginia physicians with

pain management practices—billed code 76942 for less than 100 beneficiaries, and none of his

peers billed the code for more than 200 beneficiaries. BHATTI billed this code for more than 500

beneficiaries, more than tripling the count of the next closest pain management doctor.
                                Peer comparison for JAWAD BHATTI. NP11609912351
                                  Specialty: Same as target ispedal^ code 72-Pain Management)
                                      Practice size ibenefidaiy count): Similar to target (see Insets)
                                                   Geography: Same state as target (VA)


                                          Beneficiaries for procedure code(s): 76942
                                 JAWAD BHATTI compared to peer group providers
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                                         Beneficiaries for selected procedure code(s)
                                 ♦ JAWAD BHATTI                      Median    — — - High outlier threshold

                                  Final action claims 2017-01-01 through 2023-09-06




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       82.     Humana, a Virginia Medicaid contractor, has a Special Investigations Unit

dedicated to detecting and preventing fraud, waste, and abuse. In May 2022, this unit conducted

an audit of BHATTI’s use of code 76942 that covered the period from May 2021         to April 2022.

Humana’s audit revealed BHATTI billed code 76942 at a 100% error rate, meaning that none of


his billing was accurate for the audited sample.

       83.     BHATTI used identical language in nearly every patient record to describe his

supposed process of using ultrasound to guide the injection and to justify his excessive use of this

billing code. He described his process as using the ultrasound to guide the injection, evidenced by

BHATTI claiming that he used ultrasound to identify parts of the body before performing the

injection and using the ultrasound to guide the needle insertion: “Using ultrasound guidance

anatomical structures were identified. After the idenification [sic] needle was introduced using

ultrasound Sterile precautions were observed Image was recorded on the chart.” BHATTI’s claims

in his medical records about his practice of radiological guidance are contradicted, however, by

his patients and employees.

       84.     BHATTI’s employees and patients reported that BHATTI seldom used radiological

equipment during the course of his injections, and in those rare instances when BHATTI did utilize

radiological guidance, BHATTI typically used the ultrasound only after the injection was

completed. In other words, BHATTI’s normal practice was not to use the ultrasound to guide the

injection, as required by Medicaid and Medicare for code 76942.

       85.     One of BHATTTs long-time employees, a nurse practitioner, explained that

BHATTTs practice was to perform an injection, and only then apply the ultrasound gel to the

ultrasound equipment and using that equipment to take a picture of the injection site for what

BHATTI described as insurance or record purposes. BHATTI did not use the ultrasound machine




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to guide the insertion of the needle. The nurse practitioner stated that a post-injection ultrasound

was not clinically helpful and served no medical purpose.

        86.    Another long-time employee confirmed that BHATTPs standard practice was to

only use the ultrasound machine to take a picture of the injection location after the injection was

complete, and that BHATTI did not use ultrasound to guide the injection.

        87.    Patient 1 explained to investigators that BHATTI never used any kind of

radiological guidance during her injections; but that BHATTI performed the injection so quickly

as to foreclose the procedures and time necessary for the use of radiological guidance.

        88.    Patient 2 similarly explained to investigators that BHATTI never used any kind of

radiological guidance during her injections. In fact, Patient 2 further stated she had never seen any

radiological imaging equipment at BHATTPs practice.

        89.    Patient 3 stated that they had observed BHATTI use an ultrasound wand during

injections, but that BHATTI did so only after the injection was completed, and that BHATTI did

not use the ultrasound to guide the insertion of the needle into Patient 3.

       90.     BHATTI also claimed, in nearly every patient record, that he used ultrasonic

guidance because the patients receiving these injections possessed abnormally high Body Mass

Indexes (BMI), a body fat measurement. A patient’s high BMI is a risk factor that can justify the

use of radiological guidance. BHATTPs descriptions of his patients’ high BMIs, however, is

likewise contradicted by the reality of those patients’ physical condition; investigators identified

numerous purportedly obese patients who were, in fact, at normal or below-average BMIs.

       91.     On or about the dates noted below, in the Eastern District of Virginia, for the

purpose of executing the above-described scheme and artifice to defraud, JAWAD BHATTI, aided

and abetted by others, knowingly submitted, and caused to be submitted, the following false claims




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to Medicaid or Medicare, each of which falsely and fraudulently represented that services had

actually been rendered consistent with Medicaid or Medicare requirements, when in truth and fact,

as BHATTI well knew, the services had not been rendered in compliance with Medicaid or

Medicare requirements, each such instance constituting a separate count of the Indictment:

                                    Code
 Count        Date (On or About)                            Description of Execution
                                    Billed

   15           March 4, 2020       76942    BHATTI billed Medicare for using radiological
                                             guidance to insert a needle into Patient 1 when in fact
                                             BHATTI did not use radiological guidance during the
                                             insertion of the needle, as required.

   16         September 17, 2020    76942    BHATTI billed Medicare for using radiological
                                             guidance to insert a needle into Patient 1 when in fact
                                             BHATTI did not use radiological guidance during the
                                             insertion of the needle, as required.

   17          January 20, 2020     76942    BHATTI billed Medicare for using radiological
                                             guidance to insert a needle into Patient 2 when in fact
                                             BHATTI did not use radiological guidance during the
                                             insertion of the needle, as required.

   18         September 21, 2020    76942    BHATTI billed Medicare for using radiological
                                             guidance to insert a needle into Patient 2 when in fact
                                             BHATTI did not use radiological guidance during the
                                             insertion of the needle, as required.

   19          January 15, 2020     76942    BHATTI billed Medicaid for using radiological
                                             guidance to insert a needle into Patient 3 when in fact
                                             BHATTI did not use radiological guidance during the
                                             insertion of the needle, as required.

   20           April 29, 2020      76942    BHATTI billed Medicaid for using radiological
                                             guidance to insert a needle into Patient 3 when in fact
                                             BHATTI did not use radiological guidance during the
                                             insertion of the needle, as required.

        92.      In total, BHATTI through his practice submitted $3,261,170.64 in fraudulent

billing to Medicare and Medicaid related to his purported but non-existent radiological insertion

of a needle, and these government healthcare programs paid BHATTI a total of $741,338.38 to



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which he was not entitled.


         (In violation of Title 18, United States Code, Sections 1347 and 2).

                                            COUNTS 21-26
                             (False Statements Related to Health Care Matters)

         93.       The allegations in paragraphs 1 through 10 and 75 through 92 of this Indictment

are re-alleged and incorporated as though set forth in full here.

         94.       On or about the dates noted below, in the Eastern District of Virginia, the defendant,

JAW AD BHATTI, knowingly and willfully made materially false, fictitious, and fraudulent

statements and representations, as set forth below, with each instance constituting a separate count

of the Indictment, in connection with the delivery of and payment for health care benefits, items.

and services involving Medicaid and Medicare, health care benefit programs as defined in 18

U.S.C. § 24(b), in violation of Title 18, United States Code, Section 1035.

 Count         Date (On or About)                         Description of Execution



   21            March 4. 2020       BFIATTI falsely stated in his patient’s medical record that he used
                                     radiological guidance to insert a needle into Patient 1 when in fact
                                     no such guidance was used to insert a needle into Patient 1.

   22                                BHATTI falsely stated in his patient’s medical record that he used
               September 17, 2020
                                     radiological guidance to insert a needle into Patient 1 when in fact
                                     no such guidance was used to insert a needle into Patient 1.

   23
                                     BHATTI falsely stated in his patient’s medical record that he used
                January 20, 2020
                                     radiological guidance to insert a needle into Patient 2 when in fact
                                     no such guidance was used to insert a needle into Patient 2.

   24                                BHATTI falsely stated in his patient’s medical record that he used
               September 21, 2020
                                     radiological guidance to insert a needle into Patient 2 when in fact
                                     no such guidance was used to insert a needle into Patient 2.

   25
                                     BHATTI falsely stated in his patient’s medical record that he used
                January 15, 2020
                                     radiological guidance to insert a needle into Patient 3 when in fact
                                     no such guidance was used to insert a needle into Patient 3.




                                                    31
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                                      BHATTI falsely stated in his patient's medical record that he used
      26         April 29, 2020
                                      radiological guidance to insert a needle into Patient 3 when in fact
                                      no such guidance was used to insert a needle into Patient 3.

           (In violation of Title 18, United States Code, Section 1035(a)(2)).

                                     FORFEITURE ALLEGATION

           Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that upon the

conviction of any of the offenses listed in Counts One through Twenty-Six of this Indictment, the

defendant shall forfeit to the United States any property, real or personal, that constitutes or is

derived, directly or indirectly, from gross proceeds traceable to the commission of the offense.

           Property subject to for feiture includes, but is not limited to:

           The sum of at least $1,206,690.92, representing the gross proceeds of the offenses
           charged in Counts One through Twenty-Six, which sum shall be reduced to a
           monetary judgment against the defendant in favor of the United States. This is a sum
           for which the defendant will be solely liable.

If property subject to forfeiture cannot be located, the United States will seek an order forfeiting

substitute assets.

       (In accordance with Title 18 United States Code§ 982(a)(7) and T�tle 21, United States
Code, Section 853(p)).


                                                                   A TRUE BILL:




           ERIKS. SIEBERT
           UNITED STATES ATTORNEY
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By:
           s�
           Assistant United States Attorney


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